Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 1 of 26 Page ID #:1607




   1 Kathleen A. Kenealy (State Bar No. 212289)
      Chief Deputy City Attorney
   2 kathleen.kenealy@lacity.org
     Joseph A. Brajevich (State Bar No. 156144)
   3 General Counsel, Department of Water and Power
      joseph.brajevich@ladwp.com
   4 LOS ANGELES CITY ATTORNEY’S OFFICE
     221 N. Figueroa Street, Suite 1000
   5 Los Angeles, California 90012
   6
       Eric M. George (State Bar No. 166403)
   7     egeorge@egcfirm.com
       Guy C. Nicholson (State Bar No. 106133)
   8     gnicholson@egcfirm.com
       Kathryn L. McCann (State Bar No. 245198)
   9     kmccann@egcfirm.com
       Jason Y. Kelly (State Bar No. 274144)
  10     jkelly@egcfirm.com
       ELLIS GEORGE CIPOLLONE
  11   O’BRIEN ANNAGUEY LLP
       2121 Avenue of the Stars, Suite 2800
  12   Los Angeles, California 90067
       Telephone: (310) 274-7100
  13   Facsimile: (310) 275-5697
  14 Attorneys for Defendant
     City of Los Angeles
  15
  16                         UNITED STATES DISTRICT COURT
  17             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  18 ANTWON JONES, an individual and               Case No. 2:20-CV-11502-VAP-JCx
     California taxpayer,
  19                                               Hon. Virginia A. Phillips
                  Plaintiff,                       Magistrate Jacqueline Chooljian
  20
            vs.                                    DEFENDANT CITY OF LOS
  21                                               ANGELES’ NOTICE OF MOTION
     CITY OF LOS ANGELES, a municipal              AND MOTION FOR SUMMARY
  22 entity; MICHAEL N. FEUER, in his              JUDGMENT; MEMORANDUM OF
     individual and official capacities;           POINTS AND AUTHORITIES IN
  23 JAMES P. CLARK, in his individual             SUPPORT THEREOF
     and former official capacities; and
  24 THOMAS H. PETERS, in his                      Judge:   Hon. Virginia A. Phillips
     individual and former official                Date:    March 21, 2022
  25 capacities,                                   Time:    9:00 a.m.
                                                   Crtrm:   8A
  26
  27                Defendants.
  28
       1989369
                                               -1-              Case No. 2:20-CV-11502-VAP-JCx
       DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 2 of 26 Page ID #:1608




   1 TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
   2             PLEASE TAKE NOTICE that on Monday, March 21, 2022, at 9:00 a.m., or as
   3 soon thereafter as this matter may be heard before the Honorable Virginia A. Phillips,
   4 in Courtroom 8A, First Street Courthouse, 350 West 1st Street, Los Angeles,
   5 California 90012, Defendant City of Los Angeles (“Defendant” or “City”) will move,
   6 and hereby does move, pursuant to Federal Rule of Civil Procedure 56 for summary
   7 judgment against Plaintiff Antwon Jones (“Plaintiff” or “Jones”) on the viability of
   8 the First Cause of Action in the First Amended Complaint (Dkt. No. 50; the “FAC”),
   9 which is the sole remaining claim in this action, that alleges that the City violated
  10 Plaintiff’s constitutional right to access the courts in violation of 42 U.S.C. § 1983
  11 (the “Section 1983 Claim”).
  12             The grounds for this Motion are as follows: based on the undisputed facts, the
  13 City is entitled to judgment as a matter of law because Plaintiff cannot establish the
  14 essential element of causation for his Section 1983 Claim. In this regard, Plaintiff
  15 contends that the loss of his right to bring state-law causes of action against his former
  16 attorney, Paul O. Paradis (“Paradis”), and the City was caused by a “cover up” of facts
  17 supporting those causes of action which he did not discover until the statutes of
  18 limitation had expired. The applicable statutes of limitation, however, were not even
  19 triggered until Plaintiff discovered the wrongdoing – thus, regardless of the so-called
  20 “cover up,” Plaintiff had plenty of time to bring his state-law causes of action. He
  21 just missed the deadline. The City did not cause Plaintiff to lose his right to access
  22 the courts – Plaintiff did.
  23             This Motion is based on this notice; the accompanying memorandum of points
  24 and authorities; the separate statement of uncontroverted facts and conclusions of law
  25 (the “SUF”); the Declaration of Kathryn L. McCann and exhibits attached thereto (the
  26 “McCann Declaration”); the accompanying record in this matter; and such other
  27 further papers, evidence, and oral and written argument as may be submitted in
  28 connection with this Motion.
       1989369
                                               -2-              Case No. 2:20-CV-11502-VAP-JCx
       DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 3 of 26 Page ID #:1609




   1             This Motion is made following the conference of counsel pursuant to L.R. 7-3
   2 which took place on February 4, 2022. (McCann Decl. ¶ 14.)
   3 DATED: February 18, 2022                ELLIS GEORGE CIPOLLONE
                                             O’BRIEN ANNAGUEY LLP
   4
                                                Eric M. George
   5                                            Guy C. Nicholson
                                                Kathryn L. McCann
   6
                                                Jason Y. Kelly
   7
   8                                         By:        /s/ Guy C. Nicholson
   9                                                    Guy C. Nicholson
  10                                         Attorneys for Defendant City of Los Angeles

  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
       1989369
                                               -3-              Case No. 2:20-CV-11502-VAP-JCx
       DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 4 of 26 Page ID #:1610




   1                                             TABLE OF CONTENTS
   2                                                                                                                          Page
   3 I.          INTRODUCTION ............................................................................................. 1
   4 II.         STATEMENT OF FACTS................................................................................ 2
   5             A.       This Action’s Remaining Parties And Claim For Relief ........................ 2
   6             B.       Jones Retained Paradis To Pursue Claims Involving Overbilling
                          Of Electricity And Water ........................................................................ 3
   7
                 C.       Paradis’s Relationship With The City..................................................... 4
   8
                 D.       Paradis’s Continuing Representation Of Jones....................................... 4
   9
                 E.       The “Cover-Up” ...................................................................................... 6
  10
                 F.       Plaintiff’s Government Claim Against The City .................................... 8
  11
                 G.       Plaintiff Files This Action Asserting A Section 1983 Claim
  12                      Against The City ..................................................................................... 9
  13 III.        LEGAL STANDARD ..................................................................................... 10
  14 IV.         ARGUMENT .................................................................................................. 11
  15             A.       The City Did Not Cause Plaintiff To Lose His Right To Bring
                          Causes Of Action Against Paradis In State Court ................................ 12
  16
                          1.       The Limitations Period To Bring Causes Of Action
  17                               Against Paradis Was Not Triggered Until February 13,
                                   2019, Leaving Plenty Of Time To Sue ....................................... 13
  18
                          2.       Even Though The Misconduct Began More Than Four
  19                               Years Before It Was Discovered, Plaintiff Still Had Time
                                   To Sue ......................................................................................... 15
  20
                          3.       In The Alternative, The Deadline To File Against Paradis
  21                               Was Tolled Until June 27, 2019 When The Attorney-
                                   Client Relationship Ended .......................................................... 16
  22
                 B.       Although Plaintiff Filed A Government Claim With The City, He
  23                      Neglected To Sue Within Six Months Of The Date The
                          Government Claim Was Rejected ......................................................... 17
  24
       V.        CONCLUSION ............................................................................................... 18
  25
  26
  27
  28   1989369
                                                -i-             Case No. 2:20-CV-11502-VAP-JCx
       DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 5 of 26 Page ID #:1611




   1                                        TABLE OF AUTHORITIES
   2                                                                                                             Page(s)
   3 Federal Cases
   4 Am. Title Ins. Co. v. Lacelaw Corp.,
   5   861 F.2d 224 (9th Cir. 1988) ................................................................................ 2
   6 Anderson v. Liberty Lobby, Inc.,
        477 U.S. 242 (1986) ........................................................................................... 11
   7
   8 Clarke v. Upton,
        703 F. Supp. 2d 1037 (E.D. Cal. 2010) .............................................................. 17
   9
     Delew v. Wagner,
  10
        143 F.3d 1219 (9th Cir. 1998) ............................................................................ 12
  11
     Dowell v. Contra Costa Cty.,
  12    928 F. Supp. 2d 1137 (N.D. Cal. 2013).............................................................. 17
  13
     Harper v. Wallingford,
  14    877 F.2d 728 (9th Cir. 1989) .............................................................................. 11
  15 Himes v. Gastelo,
  16   No. 18-cv-327, 2019 WL 1865160 (C.D. Cal. Jan. 30, 2019) ........................... 12
  17 Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
  18   475 U.S. 574 (1986) ........................................................................................... 11

  19 Mortimer v. Baca,
        594 F.3d 714 (9th Cir. 2010) .............................................................................. 11
  20
  21 Nat’l Steel Corp. v. Golden Eagle Ins. Co.,
        121 F.3d 496 (9th Cir. 1997) .............................................................................. 11
  22
     Nidds v. Schindler Elevator Corp.,
  23    113 F.3d 912 (9th Cir. 1997) .............................................................................. 11
  24
     Northwest Motorcycle Ass’n v. U.S. Dep’t of Agric.,
  25    18 F.3d 1468 (9th Cir. 1994) .............................................................................. 10
  26 Phillip Morris USA Inc. v. Shalabi,
  27    352 F. Supp. 2d 1067 (C.D. Cal. 2004) .............................................................. 11
  28    1989369
                                                -ii-             Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 6 of 26 Page ID #:1612




   1                                          TABLE OF AUTHORITIES
                                                    (Continued)
   2                                                                                                                    Page
   3 Rogers v. Giurbino,
        625 F. App’x 779 (9th Cir. 2015) ....................................................................... 14
   4
   5 S. Cal. Darts Ass’n v. Zaffina,
        762 F.3d 921 (9th Cir. 2014) .............................................................................. 11
   6
     T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors Ass’n,
   7
        809 F.2d 626 (9th Cir. 1987) .............................................................................. 11
   8
     Torres v. City of Los Angeles,
   9    548 F.3d 1197 (9th Cir. 2008) ............................................................................ 15
  10
     Tran v. Young,
  11    No. 17-cv-1260, 2021 WL 620229 (E.D. Cal. Feb. 17, 2021) ........................... 15
  12 Tsao v. Desert Palace, Inc.,
  13    698 F.3d 1128 (9th Cir. 2012) ............................................................................ 12
  14 State Cases
  15 Bergstein v. Stroock & Stroock & Lavan LLP,
  16    236 Cal. App. 4th 793 (2015) ....................................................................... 13, 15
  17 Brandon G. v. Gray,
  18    111 Cal. App. 4th 29 (2003) ................................................................... 13, 15, 18

  19 Filbin v. Fitzgerald,
        211 Cal. App. 4th 154 (2012) ............................................................................... 9
  20
  21 Radovich v. Locke-Paddon,
        35 Cal. App. 4th 946 (1995) ............................................................................... 14
  22
     Shaoxing City Maolong Wuzhong Down Prods., Ltd. v. Keehn &
  23    Assocs.,
  24    238 Cal. App. 4th 1031 (2015) ........................................................................... 16
  25 Federal Statutes
  26 42 U.S.C. § 1983.................................................................................................... 1, 2
  27
  28
        1989369
                                                -iii-            Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 7 of 26 Page ID #:1613




   1                                          TABLE OF AUTHORITIES
                                                    (Continued)
   2                                                                                                                    Page
   3 State Statutes
   4 Cal. Civ. Code § 3344.............................................................................................. 10
   5
     Cal. Code Civ. Proc. § 340.6 ........................................................... 10, 12, 13, 14, 15
   6
     Cal. Gov. Code § 911.2 ........................................................................................... 17
   7
     Cal. Gov. Code § 913 ........................................................................................ 10, 17
   8
   9 Cal. Gov. Code § 945.6(a)(1) ........................................................................ 9, 10, 17
  10 Other Authorities
  11 Fed. R. Civ. P. 56(c)(2)............................................................................................ 10
  12
     Fed. R. Civ. P. 56(e) ................................................................................................ 11
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
        1989369
                                                -iv-             Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 8 of 26 Page ID #:1614




   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.      INTRODUCTION
   3         Plaintiff, Antwon Jones (“Plaintiff”), is the named plaintiff in the class action
   4 lawsuit known as Antwon Jones v. City of Los Angeles, Los Angeles Superior Court
   5 Case No. BC577267 (the “Jones Action”). The Jones Action alleges that the City
   6 overbilled members of the class, including Plaintiff, for their utility services.
   7         Plaintiff filed this lawsuit against the City on December 21, 2020, alleging that
   8 he was harmed by the City’s “cover-up” and participation in wrongdoing by his
   9 former attorney, Paul O. Paradis (“Paradis”), which culminated in the Jones Action’s
  10 settlement. (Declaration of Kathryn L. McCann (“McCann Decl.”), Ex. 1 (Dkt.
  11 No. 1).) According to Plaintiff, by the time he discovered the wrongful conduct, the
  12 state-law statutes of limitation applicable to his purported causes of action for relief
  13 against Paradis and the City had expired which, in turn, deprived him of his federal
  14 civil rights under 42 U.S.C. § 1983 (“Section 1983”) to access the courts to bring suit
  15 asserting those causes of action. That is, but for the City’s purported decision to
  16 conceal the existence of Plaintiff’s purported state-law causes of action, he would
  17 have been able to timely bring them.
  18         Whether the City participated in any wrongful act or omission, or assisted
  19 others to avoid detection of their misconduct, is immaterial for purposes of this
  20 motion. As discussed below, Plaintiff – who was represented by the same counsel
  21 who represents him in this action – knew, or was on inquiry notice of, his purported
  22 state-law causes of action as early as February 13, 2019. Consequently, Plaintiff still
  23 had at least one additional year, running from February 13, 2019, to file any cause of
  24 action sounding in malpractice against Paradis. He never did so.
  25         As to the purported state-law causes of action against the City, Plaintiff was
  26 required to submit a Government Claim form prior to filing suit and, upon rejection
  27 of that claim, had a full six months post-rejection to file a timely lawsuit against the
  28 City. Plaintiff filed his Government Claim form on July 2, 2019. On September 6,
     1989369
                                             -1-              Case No. 2:20-CV-11502-VAP-JCx
       DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 9 of 26 Page ID #:1615




   1 2019, the City rejected the Government Claim, thereby establishing March 6, 2020 as
   2 the last day for Plaintiff to timely file a lawsuit against the City.
   3             The uncontroverted evidence shows that Plaintiff lost the ability to bring his
   4 state-law causes of action because he neglected to timely file. In other words, the City
   5 did not cause Plaintiff to lose supposedly valuable state-law causes of action –
   6 Plaintiff did that all by himself. Because the City did not cause Plaintiff to defer filing
   7 his causes of action under state law, the City could not have violated his civil rights
   8 by supposedly denying him access to the courts. The City is entitled to judgment in
   9 its favor as a matter of law.
  10 II.         STATEMENT OF FACTS1
  11             A.    This Action’s Remaining Parties And Claim For Relief
  12             Following two rounds of motions and one amendment to the complaint, the
  13 only claim remaining in this case is against the City based on an alleged violation of
  14 42 U.S.C. § 1983 (the “Section 1983 Claim”). (Dkt. Nos. 50, 77.) Plaintiff alleges
  15 that his attorney, Paradis, represented him in the Jones Action against the City but
  16 failed to disclose the fact that he also represented the City at the same time. (McCann
  17 Decl., Ex. 2 (Dkt. No. 50) ¶ 7.) Plaintiff theorizes that his civil rights were violated
  18 when the City secretly conspired with Paradis to settle the Jones Action on terms
  19 favorable to the City, and thereafter assisted Paradis in concealing his own
  20 misconduct. (Id., Ex. 2 ¶¶ 334, 335.) According to Plaintiff, the concealment went
  21
       1
  22          The evidence supporting this Motion comes from Plaintiff himself, including:
       (1) judicial admissions set forth in the FAC (McCann Decl., Ex. 2), (2) Plaintiff’s
  23   deposition testimony taken on February 13, 2019 (id., Ex. 3), and (3) admissions
  24   contained in Plaintiff’s Government Claim form dated July 25, 2019 (id., Ex. 5). Am.
       Title Ins. Co. v. Lacelaw Corp., 861 F.2d 224, 226 (9th Cir. 1988) (“Factual assertions
  25   in pleadings and pretrial orders, unless amended, are considered judicial admissions
  26   conclusively binding on the party who made them.”). Subject to its Answer, the City
       does not concede or admit any of the allegations made in the FAC; however, for the
  27   limited purpose of deciding this Motion, the City accepts and applies the FAC’s
  28   allegations cited herein.
       1989369
                                               -2-              Case No. 2:20-CV-11502-VAP-JCx
       DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 10 of 26 Page ID #:1616




    1 on for so long that, by the time he discovered it, the statutes of limitation to assert
    2 those causes of action had long expired – thereby depriving him of access to the courts
    3 – a purported violation of his civil rights. (Id., Ex. 2 ¶¶ 325-33.)
    4             B.    Jones Retained Paradis To Pursue Claims Involving
    5                   Overbilling Of Electricity And Water
    6             In July 2010, the Los Angeles Department of Water and Power (the “LADWP”)
    7 retained PricewaterhouseCoopers, LLP (“PwC”) to overhaul its information and
    8 billing system. (Id., Ex. 2 ¶ 44.) The new billing system went live in September
    9 2013; but due to unforeseen issues, many LADWP ratepayers were, among other
   10 things, overbilled and assessed inaccurate late-payment charges. (Id., Ex. 2 ¶ 45.)
   11 These billing errors led to a barrage of ratepayer complaints and several class actions
   12 being filed against the City in 2014 and 2015. (Id., Ex. 2 ¶ 46.)
   13             In August 2014, Plaintiff received an unusually large LADWP bill. (Id., Ex. 2
   14 ¶ 50.) He complained about the overcharges on several websites, including one where
   15 he indicated that he wanted an attorney to contact him about filing a lawsuit. (Id.,
   16 Ex. 2 ¶ 51.) Paradis contacted Plaintiff in early December 2014 in response to his
   17 online complaint; and on December 9, 2014, Paradis sent Plaintiff a retainer
   18 agreement to represent him as a named plaintiff and putative class representative for
   19 a class action suit against PwC and other defendants to recover damages (the
   20 overcharges) for the erroneous LADWP bills. (Id., Ex. 2 ¶ 52.) Plaintiff executed
   21 and returned the retainer agreement to Paradis on December 11, 2014. (Separate
   22 Statement of Uncontroverted Facts (“SUF”) No. 1.)
   23             Shortly thereafter, Paradis suggested to Plaintiff that he sue PwC before
   24 bringing an action against the City. (McCann Decl., Ex. 2 ¶ 76.) On January 9, 2015,
   25 Paradis sent Plaintiff a draft complaint against PwC that identified Paradis and his
   26 firm, among other attorneys, as his counsel. (Id., Ex. 2 ¶¶ 77, 78.) Plaintiff authorized
   27 Paradis to file that complaint; but according to Plaintiff, it was never filed. (Id., Ex. 2
   28 ¶ 80.)
        1989369
                                                -3-              Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 11 of 26 Page ID #:1617




    1         C.    Paradis’s Relationship With The City
    2         Around the same time that he was soliciting Plaintiff as a client, Paradis was
    3 retained as Special Counsel for the City to represent the City in a lawsuit against PwC
    4 (the “PwC Action”). (Id., Ex. 2 ¶¶ 56, 59, 66.) As a result, as of January 2015, Paradis
    5 was representing both (i) Plaintiff in his billing-grievance class action, and (ii) the
    6 City in the PwC Action against PwC. (Id., Ex. 2 ¶¶ 66, 67.) Plaintiff claims that
    7 Paradis did not disclose to him that Paradis had been retained by the City or that
    8 Paradis was representing him and the City at the same time. (SUF No. 2.) Plaintiff
    9 also claims he did not know at the time he retained Paradis that Paradis had any
   10 involvement with the City or its LADWP-related cases. (SUF No. 2.)
   11         Thereafter, the LADWP entered into contracts with Paradis’s law firm and
   12 consulting company to provide oversight, project management, and implementation
   13 services for the LADWP’s remediation of the billing system and to compensate
   14 overcharged customers. (McCann Decl., Ex. 2 ¶¶ 149-51, 177.) Plaintiff claims that
   15 Paradis did not disclose these City contracts to him. (SUF No. 11.)
   16         D.    Paradis’s Continuing Representation Of Jones
   17         On or about March 26, 2015, Paradis introduced Plaintiff via email to Jack
   18 Landskroner (“Landskroner”) as another attorney who would be working with Paradis
   19 on the billing class action. (McCann Decl., Ex. 2 ¶ 111.) On March 29, 2015, Paradis
   20 emailed Plaintiff a draft class action complaint suing the City in connection with the
   21 billing issues, with a copy to Landskroner. (Id., Ex. 2 ¶ 112.) Paradis represented to
   22 Plaintiff that he and Landskroner would work together to move that case forward.
   23 (Id., Ex. 2 ¶¶ 114, 115.)
   24         On April 1, 2015, the underlying billing class action complaint against the City
   25 (i.e., the Jones Action) was filed and, although the caption of the complaint did not
   26 identify Paradis as Plaintiff’s attorney of record, Plaintiff still believed that Paradis
   27 was his lawyer and was still acting on his behalf. (SUF No. 3.) Indeed, Paradis
   28 “continued to have communications with” Plaintiff (SUF No. 4) and continued to
      1989369
                                           -4-              Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 12 of 26 Page ID #:1618




    1 perform legal services on Plaintiff’s behalf. Those continuing services included, inter
    2 alia, drafting the April 2, 2015 settlement demand letter sent to the LADWP and, two
    3 years later, the declaration supporting a motion seeking court approval of the Jones
    4 settlement agreement in April 2017. (SUF Nos. 5, 6.) On February 13, 2019, Plaintiff
    5 testified during his deposition in the PwC Action that, “when [he] heard that a
    6 settlement offer had been made to the City,” it was his “belief that that offer had been
    7 made by both Mr. Landskroner and Mr. Paradis on [his] behalf.” (SUF No. 14.)
    8             A court order granting final approval of the settlement agreement for the Jones
    9 Action was entered on July 7, 2017. (McCann Decl., Ex. 2 ¶ 183.) Pursuant to that
   10 agreement, Jones received a full refund of all utility overcharges as well as a $5,000
   11 service fee. (Id., Ex. 2 ¶¶ 184, 185.)
   12             Paradis never withdrew from or terminated his attorney-client relationship with
   13 Plaintiff. (SUF No. 9; see also SUF No. 25.) As Plaintiff testified on February 13,
   14 2019:
   15             Q. Did Mr. Paradis ever resign as being your attorney or withdraw from being
   16             your attorney?
   17             A. I don’t have any formal communication saying that he’s not my attorney
   18             anymore.
   19             Q. Did you ever fire him?
   20             A. No.
   21 (SUF No. 9.) Jones still believed that Paradis was his attorney since he “never
   22 received an email from Mr. Paradis saying that he wasn’t my attorney anymore” and
   23 Jones never told Paradis that he was no longer his client. (SUF No. 9.) Instead, as
   24 Plaintiff set forth in his Government Claim form, it was Plaintiff who terminated the
   25 attorney-client relationship:
   26                   In fact, Paradis and PLG’s [Paradis Law Group]
   27                   representation of Mr. Jones was only formally terminated
   28                   recently, on June 27, 2019, when Mr. Jones’ present
        1989369
                                                 -5-            Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 13 of 26 Page ID #:1619




    1                counsel sent counsel for Paradis, his partner Gina Tufaro
    2                (“Tufaro”) and PLG a written notice of termination.
    3 (SUF No. 25.)
    4         E.     The “Cover-Up”
    5         Plaintiff alleges that Paradis and the City engaged in a cover up in the PwC
    6 Action and the Jones Action to conceal “their wrongful and actionable conduct against
    7 Mr. Jones from him.” (McCann Decl., Ex. 2 ¶ 325.) This conduct included, inter
    8 alia, allegedly withholding and destroying evidence, making false statements to the
    9 Court, and committing discovery abuses. (Id., Ex. 2 ¶ 325.) As alleged in his
   10 Government Claim, the efforts undertaken by Paradis and the City to conceal their
   11 misconduct ran so far and deep that: “Prior to Mr. Jones’s deposition on February 13,
   12 2019, neither PwC, its counsel, plaintiffs’ counsel in the Early Class Actions, nor the
   13 Court were aware that Paradis had been [representing Plaintiff and the City at the
   14 same time as a] result of Paradis’ concerted efforts, in concert with the City and
   15 others, to keep these facts secret.” (SUF Nos. 2, 26-29 (emphasis added).)
   16         Plaintiff admits that he was completely in the dark as to Paradis’s divided
   17 loyalties; that is, until his deposition was taken in the PwC Action on February 13,
   18 2019. (SUF No. 10.) During that deposition, Plaintiff was represented by Isaacs
   19 Friedberg, LLP, the same counsel who filed, and represents him now in, the instant
   20 action. (SUF No. 8.) Plaintiff admitted at his deposition to learning for the first time
   21 that: (i) Paradis also represented the City (SUF No. 10), (ii) Paradis had entered into
   22 a separate contract with the City to oversee the work the LADWP was to conduct to
   23 implement the terms of the settlement agreement in the Jones Action (SUF No. 11),
   24 (iii) the allegedly collusive nature of the settlement (SUF No. 12), and (iv) to his great
   25 surprise, that Paradis had been sharing his case materials with the City without his
   26 knowledge or authorization (SUF No. 13).
   27         Indeed, at a telephonic hearing that occurred during Plaintiff’s deposition,
   28 Plaintiff’s counsel even summarized his understanding of the facts as of that day: “On
      1989369
                                               -6-               Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 14 of 26 Page ID #:1620




    1 or about December 8th of 2014, Mr. Jones retained Mr. Paradis as his counsel. . . . He
    2 did not know that Mr. Paradis was also or may have been acting also as counsel for
    3 the City. . . . He had never authorized Mr. Paradis to communicate a copy or a draft
    4 of that draft Complaint to the City, did not know that Mr. Paradis was representing or
    5 was also special counsel for the City at that time, never waived the privilege.” (SUF
    6 No. 15.) Plaintiff’s counsel further reiterated that “there is no written communication
    7 from Mr. Paradis that we have been able to find, or that Mr. Jones can recall or
    8 anybody else is aware of, by Mr. Paradis terminating his representing or Mr. Jones,”
    9 and “as far as [Mr. Jones] was concerned, he was being represented by Mr. Paradis
   10 and Mr. Landskroner in the Jones versus DWP case.” (SUF No. 9.)
   11             After learning of the alleged misconduct by Paradis, the City, and others,
   12 Plaintiff and his attorneys continued to demonstrate that they knew the factual basis
   13 for his purported state-law causes of action against Paradis and the City. For example,
   14 Plaintiff and his attorneys appeared at the March 4, 2019 proceeding in the PwC
   15 Action where accusations were levied (1) about “[t]he unethical nature of the
   16 arrangements between and among the City, Special Counsel and Mr. Landskroner”
   17 (SUF No. 16) and (2) that Plaintiff was “chosen” to be the plaintiff in the Jones Action
   18 “before that case was filed, Mr. Paradis had located him, secured an attorney/client
   19 relationship with him then gone to the City and gotten hired by the City
   20 simultaneously and came up with the plan to file and settle the case on the City’s
   21 terms . . . without disclosing to Mr. Jones what was occurred.” (SUF Nos. 17-19).
   22 The attorneys at the hearing also discussed the issue of “whether Jones and the class
   23 were denied independent counsel to zealously represent with undivided loyalty their
   24 interest.” (SUF No. 20.) They questioned class counsel, Mr. Landskroner, about the
   25 nature of his representation in the Jones Action and Paradis’s involvement in the case
   26 at the hearing, but Landskroner refused to answer, asserting his Fifth Amendment
   27 right against self-incrimination. (SUF No. 20.)
   28
        1989369
                                                -7-              Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 15 of 26 Page ID #:1621




    1         By March 25, 2019, Plaintiff’s counsel was representing him in the Jones
    2 Action, the PwC Action, and other actions. (SUF No. 21.) Plaintiff’s counsel was
    3 calling for an investigation into, inter alia, the relationship between lawyers in the
    4 PwC Action and the Jones Action, as well as into whether the Jones Action “was an
    5 actual adversarial proceeding, or was a sham lawsuit engineered by the City and its
    6 Special Counsel.” (SUF No. 21.)
    7         On April 14, 2019, Plaintiff and his attorney appeared at a hearing for the
    8 appointment of new class counsel in the Jones Action. (SUF No. 22.) Plaintiff
    9 himself represented to the court that he would be able to work with whomever was
   10 appointed the new class counsel. (SUF No. 23.)
   11         Months later, in a declaration signed June 19, 2019, Plaintiff waived all
   12 privileges and protections, including the attorney-client privilege, with respect to his
   13 communications with Paradis. (SUF No. 24.) Plaintiff filed this declaration in
   14 opposition to an ex parte application that Paradis filed to prohibit Jones from
   15 producing privileged and protected information. (SUF No. 24.) By that time, Plaintiff
   16 was represented by new class counsel in the Jones Action and by the same attorneys
   17 who represent him in this action; but not by Paradis. (SUF Nos. 21, 22, 25.)
   18         F.    Plaintiff’s Government Claim Against The City
   19         On July 22, 2019, Plaintiff submitted a detailed Government Claim for
   20 damages to the City based on the very same set of facts alleged in the FAC and
   21 discussed herein above.         (SUF Nos. 26-29; McCann Decl., Ex. 5.)            Fairly
   22 summarized, Plaintiff’s Government Claim form alleges that the entire settlement of
   23 the Jones Action was the product of an illicit and collusive arrangement involving
   24 Paradis and the City, among others, spanning several years, which somehow resulted
   25 in the Jones Action settling on terms more favorable to the City than it otherwise
   26 would have agreed to accept under normal circumstances. (SUF Nos. 26, 29.) Given
   27 that Plaintiff received a full refund of the amount he overpaid for his utility services,
   28 not to mention the aforementioned $5,000 service fee, he does not allege in the FAC,
      1989369
                                             -8-                Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 16 of 26 Page ID #:1622




    1 what any supposedly more favorable settlement terms might have been.2 Plaintiff
    2 also alleged in his Government Claim that the City “intentionally joined, participated
    3 in, aided, abetted, [and] encouraged” Paradis’s “defrauding” of Jones and breaches of
    4 his fiduciary duties to Jones. (SUF Nos. 27, 28.)
    5         On or about September 6, 2019, the City denied Plaintiff’s Government Claim.
    6 (SUF No. 30.) Plaintiff neglected to file a lawsuit against the City within six months
    7 of the City’s September 6, 2019 rejection as required by California Government Code
    8 sections 913 and 945.6. (SUF Nos. 31.)
    9         G.     Plaintiff Files This Action Asserting A Section 1983
   10                Claim Against The City
   11         On December 21, 2020, Plaintiff filed this action against the City and three
   12 individual defendants. (SUF No. 32.) The only claim remaining in the operative
   13 complaint, the FAC, is against the City for alleged violation of Section 1983 by
   14 depriving Plaintiff of access to the courts to assert state-law causes of action against
   15 Paradis and the City. (Dkt. Nos. 50, 77.) The FAC claims Plaintiff possessed
   16 “[v]aluable” state-law causes of action against Paradis and against the City; but
   17 because of the City’s cover-up “beginning in or about April 2015,” he has lost his
   18 ability to pursue those causes of action that would have entitled him to “[s]ubstantial
   19 [r]elief” against Paradis and the City. (McCann Decl., Ex. 2 ¶¶ 314-36.)
   20
        2
   21         In Filbin v. Fitzgerald, 211 Cal. App. 4th 154 (2012), the California Court of
      Appeal described the heavy burden a legal malpractice plaintiff faces in a “settle and
   22 sue” lawsuit:
   23                A claim regarding an inadequate settlement often fails
   24                because it is inherently speculative. . . . A client, who was a
                     plaintiff, must establish not only that concluding such a
   25                settlement fell outside the standard of care, but also what
   26                would have been a reasonable settlement and that such sums
                     would have been agreed to [by the defendant] and could
   27                have and would have been paid.
   28 211 Cal. App. 4th at 167 (emphasis added).
      1989369
                                                  -9-                  Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 17 of 26 Page ID #:1623




    1          Those purported state-law causes of action against Paradis would have included
    2 (a) breach of fiduciary duty, (b) aiding and abetting Class Counsel’s [Landskroner’s]
    3 breaches of fiduciary duty, (c) misuse of identity for commercial purposes in violation
    4 of California Civil Code section 3344, (d) violation of the California Unfair
    5 Competition Law, (e) conversion, (f) unjust enrichment, (g) constructive fraud,
    6 (h) promissory      fraud   and    intentional     and   negligent   misrepresentation,
    7 (i) concealment, and (j) professional negligence.        (McCann Decl., Ex. 2 ¶ 320.)
    8 Plaintiff correctly concedes that his causes of action against Paradis are subject to the
    9 statute of limitations set forth in California Code of Civil Procedure section 340.6
   10 (“Section 340.6”). (Id., Ex. 2 ¶¶ 10, 328, 329.)
   11          Plaintiff’s purported state-law causes of action against the City would have
   12 included (a) breach of fiduciary duty and constructive fraud, (b) aiding and abetting
   13 Paradis’s breaches of fiduciary duty and fraud, (c) conspiracy with Paradis, and
   14 (d) intentional interference with contractual relations between Plaintiff and Paradis
   15 and Paradis Law Group. (Id., Ex. 2 ¶ 321.) Plaintiff also contends that the City was
   16 vicariously liable for the tortious conduct of its employees (id., Ex. 2 ¶ 324), but
   17 acknowledges, as he must, that all of his purported causes of action against the City
   18 are subject to the requirements of the Claims Act (id., Ex. 2 ¶¶ 10, 331-33), including
   19 the inflexible requirement that his claims be filed within six months of denial of the
   20 aforementioned government claim. Cal. Gov. Code § 945.6(a)(1); Cal. Gov. Code
   21 § 913.
   22 III.     LEGAL STANDARD
   23          The purpose of summary judgment is to avoid unnecessary trials when the
   24 material facts are uncontroverted. See Northwest Motorcycle Ass’n v. U.S. Dep’t of
   25 Agric., 18 F.3d 1468, 1471-72 (9th Cir. 1994) (citation omitted). “Federal Rule of
   26 Civil Procedure 56(c)(2) provides that summary judgment is warranted when ‘the
   27 pleadings, the discovery and disclosure materials on file, and any affidavits show that
   28 there is no genuine issue as to any material fact and that the movant is entitled to
      1989369
                                             -10-               Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 18 of 26 Page ID #:1624




    1 judgment as a matter of law.’” Mortimer v. Baca, 594 F.3d 714, 721 (9th Cir. 2010);
    2 see also S. Cal. Darts Ass’n v. Zaffina, 762 F.3d 921, 925 (9th Cir. 2014).
    3         Once the moving party demonstrates the absence of a material fact without
    4 which a claim cannot survive, or proffers other facts precluding any reasonable chance
    5 of success, the burden shifts to the opposing party to present admissible contra
    6 evidence. See Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586
    7 (1986). To defeat summary judgment, there must be “sufficient evidence ‘that a
    8 reasonable jury could return a verdict for the nonmoving party.’” Nidds v. Schindler
    9 Elevator Corp., 113 F.3d 912, 916 (9th Cir. 1997).
   10         Thus, the opposing party cannot simply stand on its pleadings and most
   11 definitely cannot disavow his or her judicial or other admissions to avoid summary
   12 judgment. See Fed. R. Civ. P. 56(e); see also T.W. Elec. Serv., Inc. v. Pac. Elec.
   13 Contractors Ass’n, 809 F.2d 626, 630 (9th Cir. 1987). Nor can the opposing party
   14 rest on conclusory statements. See Nat’l Steel Corp. v. Golden Eagle Ins. Co., 121
   15 F.3d 496, 502 (9th Cir. 1997). Rather, the party resisting summary judgment has no
   16 choice other than to “set forth specific facts showing that there is a genuine issue for
   17 trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); see also Phillip
   18 Morris USA Inc. v. Shalabi, 352 F. Supp. 2d 1067, 1071 (C.D. Cal. 2004) (requiring
   19 movant to “‘set forth specific facts showing that there is a genuine issue for trial’”).
   20 “[M]ere disagreement or the bald assertion that a genuine issue of material fact exists”
   21 does not preclude summary judgment. Harper v. Wallingford, 877 F.2d 728, 731 (9th
   22 Cir. 1989).
   23 IV.     ARGUMENT
   24         Section 1983 provides that any person who, under color of law, deprives
   25 another of any rights, privileges, or immunities secured by the Constitution or laws of
   26 the United States shall be liable to the injured party. Plaintiff’s Section 1983 Claim
   27 is premised on the theory that the City engaged in a cover-up that deprived Plaintiff
   28 of his ability to file timely state-law causes of action against Paradis and the City.
      1989369
                                                -11-              Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 19 of 26 Page ID #:1625




    1 (McCann Decl., Ex. 2 ¶ 10.) Stated another way, Plaintiff’s Section 1983 Claim is a
    2 backward-looking access-to-courts claim that alleges that, “due to official action, a
    3 specific case ‘cannot now be tried (or tried with all material evidence), no matter what
    4 official action may be in the future.’” Himes v. Gastelo, No. 18-cv-327, 2019 WL
    5 1865160, at *5 (C.D. Cal. Jan. 30, 2019), report and recommendation adopted, 2019
    6 WL 3240092 (C.D. Cal. Mar. 25, 2019). To prevail on the Section 1983 Claim,
    7 Plaintiff must prove, among other things, “but for and proximate causation.” Tsao v.
    8 Desert Palace, Inc., 698 F.3d 1128, 1146 (9th Cir. 2012). He “must demonstrate that
    9 the [City’s alleged] cover-up violated [his] right of access to the courts by rendering
   10 ‘any available state court remedy ineffective.’” Delew v. Wagner, 143 F.3d 1219,
   11 1222-23 (9th Cir. 1998). (See also McCann Decl., Ex. 2 ¶ 310 (citing Delew, 143
   12 F.3d at 1223).)
   13         As explained below, summary judgment must be granted in favor of the City
   14 because the time limitations applicable to Plaintiff’s state-law causes of action had
   15 not expired because of anything the City did or did not do. For this essential reason,
   16 the City did not violate Plaintiff’s civil rights by denying him access to the courts.
   17 The uncontroverted evidence proves that Plaintiff not only became aware of his state-
   18 law causes of action prior to expiration of any statute of limitations, he went so far as
   19 to submit the required Government Claim form to the City detailing his charges, yet
   20 failed to file a lawsuit within six months of the date that the Government Claim was
   21 rejected, as California law requires. The City did not cause Plaintiff’s loss of access
   22 to the state courts – Plaintiff did. His civil rights were not violated.
   23         A.     The City Did Not Cause Plaintiff To Lose His Right To Bring
   24                Causes Of Action Against Paradis In State Court
   25         Although Plaintiff correctly acknowledges that the timeliness of his causes of
   26 action against Paradis are governed by the statute of limitations in Section 340.6
   27 (McCann Decl., Ex. 2 ¶ 329), his supposition that the City violated his civil rights by
   28 helping Paradis conceal the wrongdoing until it was too late to bring those causes of
      1989369
                                            -12-                 Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 20 of 26 Page ID #:1626




    1 action reflects a base misunderstanding of when a period of limitations is triggered or
    2 tolled. Critical information allegedly concealed from him did not render “ineffective”
    3 the “state remedies” available to him. (Id., Ex. 2 ¶ 317.)
    4                1.      The Limitations Period To Bring Causes Of Action
    5                        Against Paradis Was Not Triggered Until February 13,
    6                        2019, Leaving Plenty Of Time To Sue
    7          Even if Paradis and the City acted to “cover up” or conceal their wrongdoing
    8 from Plaintiff beginning in 2015, as Plaintiff asserts in the FAC and in his
    9 Government Claim, such conduct is of no consequence because not even the shortest
   10 potentially applicable limitations period (one year) was triggered until February 13,
   11 2019. It was on that date Plaintiff admits he discovered the misconduct for the first
   12 time. (SUF Nos. 9-15.)3 Among other things, Plaintiff learned that while Paradis
   13 purported to represent only his interests in the Jones Action, he also represented his
   14 adversary, the City, allegedly to his detriment. (SUF Nos. 10, 12, 13, 15.) This is
   15 more than enough to put him on inquiry notice and therefore to trigger the one-year
   16 period. Bergstein v. Stroock & Stroock & Lavan LLP, 236 Cal. App. 4th 793, 820
   17 (2015) (“A plaintiff need not be aware of the specific ‘facts’ necessary to establish
   18 the claim; that is a process contemplated by pretrial discovery’; so long as a ‘suspicion
   19 of wrongdoing’ exists, ‘it is clear that the plaintiff must go find the facts . . . .”) (citing
   20 Jolly v. Eli Lilly, & Co., 44 Cal. 3d 1103, 1111 (1988)). Section 340.6(a) is crystal
   21 clear:
   22                An action against an attorney for a wrongful act or
   23                omission, other than for actual fraud, arising in the
   24
   25   3
              “[T]he accrual date of a cause of action is delayed until the plaintiff is aware of
   26 his or her injury and its cause. . . .” Brandon G. v. Gray, 111 Cal. App. 4th 29, 35
      (2003). The period of limitations begins “to run when the plaintiff has a ‘suspicion
   27 of wrongdoing’; in other words, when he or she has notice of information or
   28 circumstances to put a reasonable person on inquiry.” Id.
      1989369
                                                 -13-               Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 21 of 26 Page ID #:1627




    1                performance of professional services shall be commenced
    2                within one year after the plaintiff discovers, or through the
    3                use of reasonable diligence should have discovered, the
    4                facts constituting the wrongful act or omission, or four
    5                years from the date of the wrongful act or omission,
    6                whichever occurs first.
    7 Cal. Code Civ. Proc. § 340.6(a); see also Radovich v. Locke-Paddon, 35 Cal. App.
    8 4th 946, 966 (1995).
    9         Given Plaintiff’s unqualified admission that he did not discover the wrongdoing
   10 until February 13, 2019, Section 340.6(a) afforded him another full year, until
   11 February 13, 2020, within which to sue Paradis in state court. Plaintiff has only two
   12 choices:
   13                   Stick with his testimony proving that he was on
   14                    inquiry notice of the wrongdoing as of February 13,
   15                    2019, or
   16                   Attempt to reverse course and claim that he never had
   17                    enough information to be suspicious of anything.
   18 Either way, the instant lawsuit fails as a matter of law because (i) if Plaintiff sticks
   19 with his prior testimony, he clearly had sufficient time within which to bring suit
   20 against Paradis – which he did not do; or (ii) if he successfully recants, it means that
   21 the delayed discovery rule still has not been implicated and the limitations period still
   22 has not been triggered – meaning, yet again that the City did not cause Plaintiff to lose
   23 the right to bring causes of action under state law in state court.
   24         Plaintiff’s decision not to file a lawsuit prior to February 13, 2020 means that
   25 he cannot prove an essential element of his Section 1983 Claim against the City – that
   26 element being causation. See Rogers v. Giurbino, 625 F. App’x 779, 782 (9th Cir.
   27 2015) (affirming dismissal of backward-looking access-to-courts claim where
   28 plaintiff “did not lose an opportunity to sue or request relief based on an inability to
      1989369
                                                -14-               Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 22 of 26 Page ID #:1628




    1 file timely”); see also Torres v. City of Los Angeles, 548 F.3d 1197, 1206 (9th Cir.
    2 2008) (finding that a defendant’s remote conduct or contribution to the chain of events
    3 causing the injury is not sufficient to render them an “integral participa[nt],” which is
    4 required to find causation); Tran v. Young, No. 17-cv-1260, 2021 WL 620229, at *7
    5 (E.D. Cal. Feb. 17, 2021) (“A failure to show a material issue of fact exists on the
    6 issue of causation is sufficient to support a finding that summary judgment should be
    7 granted for defendants.”) (citing Leer v. Murphy, 844, F.2d 628, 634 (9th Cir. 1988)).
    8 The bottom line is that because a cause of action does not accrue until the aggrieved
    9 party discovers the wrongdoing (Brandon G. v. Gray, 111 Cal. App. 4th 29, 35
   10 (2003)), whether the City participated in a scheme to “cover up” the wrongdoing, has
   11 always been irrelevant.
   12                2.     Even Though The Misconduct Began More Than Four
   13                       Years Before It Was Discovered, Plaintiff Still Had
   14                       Time To Sue
   15         In addition to the base one-year period quoted above, Section 340.6 provides
   16 that a malpractice cause of action is lost if not filed within 4 years of the wrongful act
   17 or omission. In other words, a claim is untimely if not filed within one year of
   18 discovery or, at the latest, within 4 years of the wrongful act or omission regardless
   19 of discovery – the latter period operating similar to a statute of repose.
   20         Any attempt to dodge the delayed discovery rule by arguing that the date of
   21 discovery (February 13, 2019) is immaterial because the misconduct began more than
   22 4 years earlier (in January 2015 when the conflict of interest arose (see McCann Decl.,
   23 Ex. 2 ¶¶ 66, 67)), has absolutely no chance of success.                        Pursuant to
   24 Section 340.6(a)(3), the outside 4-year period also is tolled when an attorney
   25 “willfully conceals the facts constituting the wrongful act or omission . . . .” See also
   26 Bergstein, 236 Cal. App. 4th at 821 (finding that “[i]t has long been established that
   27 the defendant’s fraud in concealing a cause of action against him tolls the applicable
   28 statute of limitations . . .”). This is exactly the circumstance Plaintiff described in the
      1989369
                                                   -15-              Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 23 of 26 Page ID #:1629




    1 FAC and his Government Claim that prevented him from learning the truth prior to
    2 February 13, 2019. (E.g., McCann Decl., Ex. 2 ¶¶ 325-27; McCann Decl., Ex. 5.)
    3                   3.     In The Alternative, The Deadline To File Against Paradis
    4                          Was Tolled Until June 27, 2019 When The Attorney-Client
    5                          Relationship Ended
    6             Pursuant to Section 340.6(a)(2), the statute of limitations also was tolled during
    7 the period of time Paradis continued to serve as Plaintiff’s counsel.                  “[T]he
    8 relationship can continue . . . if the objective evidence shows that the attorney
    9 continues to provide legal advice or services.” Shaoxing City Maolong Wuzhong
   10 Down Prods., Ltd. v. Keehn & Assocs., 238 Cal. App. 4th 1031, 1039 (2015). The
   11 facts derived from Plaintiff himself are (i) he retained Paradis as his attorney in
   12 December 2014 to recover damages for the LADWP’s overbilling, (ii) the Jones
   13 Action was filed on April 1, 2015, (iii) Paradis communicated with and performed
   14 legal services for Plaintiff in the Jones Action after the complaint was filed,
   15 (iv) Plaintiff believed that Paradis continued to work for him after the Jones Action
   16 was filed, (v) Paradis never informed Plaintiff that he was no longer his attorney or
   17 had withdrawn from the representation, and (vi) it was Plaintiff who decided to end
   18 his attorney-client relationship with Paradis on June 27, 2019. (SUF Nos. 1-6, 9, 25.)
   19             Assuming even if Plaintiff could somehow walk-back his unambiguous
   20 admissions that he first discovered Paradis’s and the City’s misconduct no earlier than
   21 February 13, 2019, he cannot deny that his attorney-client relationship with Paradis
   22 continued until June 27, 2019. Plaintiff either had one year from February 13, 2019
   23 to bring suit or one year from June 27, 2019 to do so – either way, despite Plaintiff’s
   24 professed knowledge of the wrongdoing done to him, he did not act.
   25
   26
   27
   28
        1989369
                                               -16-              Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 24 of 26 Page ID #:1630




    1             B.    Although Plaintiff Filed A Government Claim With The City,
    2                   He Neglected To Sue Within Six Months Of The Date The
    3                   Government Claim Was Rejected
    4             As the FAC concedes, any causes of action Plaintiff could have asserted against
    5 the City are governed by the California Government Claims Act (the “Claims Act”).
    6 (McCann Decl., Ex. 2 ¶¶ 321-23.) The Claims Act mandates that “[a] claim relating
    7 to a cause of action for death or for injury to person or to personal property . . . shall
    8 be presented . . . not later than six months after the accrual of the cause of action. A
    9 claim relating to any other cause of action shall be presented . . . not later than one
   10 year after the accrual of the cause of action.” Cal. Gov. Code § 911.2. (See also
   11 McCann Decl., Ex. 2 ¶¶ 322-23.) If the claim is rejected by written notice, the
   12 claimant must file suit against the public entity “not later than six months after the
   13 date such notice.” Cal. Gov. Code § 945.6(a)(1); Cal. Gov. Code § 913. Any lawsuit
   14 filed after expiration of the six-month period is barred. See Clarke v. Upton, 703 F.
   15 Supp. 2d 1037, 1044 (E.D. Cal. 2010) (“The six month period set forth in Section
   16 945.6(a)(1) is mandatory and strict compliance is required.”); see also Dowell v.
   17 Contra Costa Cty., 928 F. Supp. 2d 1137, 1152 (N.D. Cal. 2013).
   18             The uncontroverted facts are that, after his February 13, 2019 deposition,
   19 Plaintiff submitted his Government Claim form on July 22, 2019 (SUF No. 26) and
   20 the City rejected the Government Claim on September 6, 2019 (SUF No. 30)
   21 triggering the six-month deadline for him to file an action asserting his state-law
   22 causes of action against the City. See Cal. Gov. Code § 945.6(a)(1). No such action
   23 was filed against the City by March 6, 2020. Indeed, he has never filed suit against
   24 the City asserting any of the state-law causes of action. (SUF No. 31.) Instead,
   25 Plaintiff waited more than 15 months after the City rejected his Government Claim to
   26 file this action, alleging that the City deprived him of access to the courts. (SUF
   27 No. 32; Dkt. No. 1.)
   28
        1989369
                                               -17-              Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 25 of 26 Page ID #:1631




    1             Even if the City and/or Paradis engaged in any of the purported misconduct
    2 alleged in the FAC, such actions only delayed Plaintiff from discovering the basis for
    3 his potential causes of action and, in the process, also extended the deadline to submit
    4 his Government Claim. See Brandon G., 111 Cal. App. 4th at 35. But once his
    5 Government Claim was rejected on September 6, 2019, Plaintiff could have - and was
    6 required to - file an action against the City asserting his state-law causes of action.
    7 Indeed, he and his counsel’s representations and appearances in court confirm that
    8 Plaintiff was well aware of the facts underlying his state-law causes of action. (E.g.,
    9 SUF Nos. 15-24, 26-29.) But Plaintiff elected not to for reasons that have nothing to
   10 do with the City purportedly depriving him of access to the courts.
   11             Finally, it is worth noting that Plaintiff was not alone on February 13, 2019
   12 when he first discovered the facts supporting his causes of action, nor was he without
   13 competent legal counsel at any time thereafter. Plaintiff was at all times represented
   14 by the same counsel – the same counsel that represented him at his deposition,
   15 represented him in subsequent hearings, assisted him in preparing court filings, as
   16 well as the Government Claim form (consisting of 81 pages and 6 attachments), and
   17 signed the Government Claim form on Plaintiff’s behalf. (SUF Nos. 8, 15, 16, 21,
   18 22, 24, 25, 26, 32.) Although irrelevant, Plaintiff cannot even profess ignorance of
   19 the filing deadlines.
   20 V.          CONCLUSION
   21             Plaintiff’s own allegations and admissions confirm that any alleged City cover
   22 up did not cause him to be deprived of access to the courts to assert state-law causes
   23 of action against Paradis and the City. At most, they merely tolled the relevant
   24 limitations requirements until February 13, 2019 when Plaintiff - represented by the
   25 same attorneys who represent him here – was put on notice of his potential state-law
   26 causes of action. No one other than Plaintiff is responsible for his decision not to file
   27 his causes of action against Paradis or the City.
   28
        1989369
                                               -18-              Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
Case 2:20-cv-11502-VAP-JC Document 94 Filed 02/18/22 Page 26 of 26 Page ID #:1632




    1             Accordingly, for all the reasons stated above, the City respectfully requests that
    2 this Court grant this Motion for Summary Judgment.
    3 DATED: February 18, 2022                   ELLIS GEORGE CIPOLLONE
                                                 O’BRIEN ANNAGUEY LLP
    4
                                                    Eric M. George
    5                                               Guy C. Nicholson
                                                    Kathryn L. McCann
    6
                                                    Jason Y. Kelly
    7
    8                                            By:        /s/ Guy C. Nicholson
    9                                                       Guy C. Nicholson
   10                                            Attorneys for Defendant City of Los Angeles

   11
   12
   13
   14
   15
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
        1989369
                                               -19-              Case No. 2:20-CV-11502-VAP-JCx
        DEFENDANT CITY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT;
                    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
